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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 THE LAW OFFICES OF ERICA T. YITZHAK
 AND ERICA T. YITZHAK, ESQ. P.C.,
                                                                        Case No.: 2:24-cv-03552

                           Petitioner,

         -against-
                                                                        AFFIRMATION
 TROY LAMBE, MAX DIVERSIFIED INC.,
 SUNRAY SOLAR INC., AND PAUL VERNER,

                            Respondents.
 ---------------------------------------------------------------X


         ERICA T. YITZHAK, an attorney licensed to practice law in the Courts of the

 State of New York, under the penalties of perjury, affirms as follows:

     1. Petitioners, The Law Offices of Erica T. Yitzhak and Erica T. Yitzhak Esq.

         P.C., are New York domestic professional corporations, with an address at 1

         Linden Place, Suite 406, Great Neck, New York 11021 and are represented by

         The Weinstein Group, P.C.

     2. Respondent and Judgment Debtor, Troy Lambe, is an individual, with a

         residential address of 246 S. Cooks Bridge Road, Jackson, New Jersey 08527.

     3. Respondents and Judgment Debtors, Max Diversified Inc. and Sunray Solar

         Inc. are Domestic Corporations with a principal place of business at 246 S.

         Cooks Bridge Road, Jackson, New Jersey 08527.




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    4. Respondent, Paul Verner is an attorney employed by Verner Simon with a

       principal place of business at 30 Wall Street, 8th Floor, New York, New York,

       10005.

    5. A Judgment was duly entered in the matter of Erica T. Yitzhak, The Law

       Offices of Erica T. Yitzhak and Erica T. Yitzhak Esq. P.C. v. Troy Lambe, Max

       Diversified Inc., and Sunray Solar Inc., Index No: 612184/2022, in the Supreme

       Court of Nassau, State of New York on July 13, 2023. Exhibit 1.

    6. The Judgment Debtors remain fully indebted to Petitioners in the amount of

       $1,664,577.36 plus statutory interest in the amount of nine (9) percent per

       annum, from July 13, 2023, on said Judgment.

    7. As of the date of the filing of this Petition, no payment has been made towards

       the satisfaction of this Judgment and the full amount remains outstanding.

    8. There is evidence to support the claim that Paul Verner and/or Verner and

       Simon are maintaining funds of the Judgment Debtors in an attorney escrow

       or other special account.

    9. This turnover matter was originally brought in the State Court of New York,

       however, Respondent Verner removed the same to this Honorable Court for

       adjudication. Since doing so, Venrer has ignored discovery demands and this

       Court’s Order for production of financial information regarding funds received

       and disbursed by him.

    10. It is apparent that Attorney Paul Verner is in possession of a significant

       amount of funds belonging to the Judgment Debtors in the matter of Erica T.

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       Yitzhak, The Law Offices of Erica T. Yitzhak and Erica T. Yitzhak Esq. P.C. v.

       Troy Lambe, Max Diversified Inc., and Sunray Solar Inc., Index No:

       612184/2022, in the Supreme Court of Nassau, State of New York on July 13,

       2023.

    11. Reluctantly, Respondent Verner provided some of his bank statements.

    12. As is set forth therein, Verner received the sum of $1,604,254.85. Further,

       Verner’s bank statements demonstrate the distribution of $917,699, as set

       forth below:

               Payee         Disbursement Income             Remainder
                                                             Still   in
                                                             Account
                                             595,274.87
                                             1,003,557.18
                                             5,422.80
               Troy          285,000
               Lambe
               Janet         320,250
               Lambe
               Max           15,000
               Diversified
               Janet         185,000
               Lambe
               Verner        50,000
               Troy          62,449
               Lambe
                             917,699         1,604,254.85

                                                             686,555.85



    13. This is directly supported in Verner’s sworn declaration dated July 25, 2024,

       Exhibit 2. In it, Verner avers: “16. In summary, the Exhibits A – K show the

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       receipt of the two settlement sums in 2016 and 2018, the disbursements to the

       clients of net settlement proceeds after deducting my attorneys’ fees and the

       fact that the amounts left in my bank accounts were earmarked for

       defense costs in Yitzhak Defense Case and at least four other Lambe/Sunray

       defense cases.” Emphasis supplied.

    14. Thus, Verner confirms that there are funds remaining in his account which

       were not distributions set forth above, and are nowhere reflected on the bank

       statements provided by Verner.

    15. Those funds in the amount of $686,555.85 are subject to collection by

       Plaintiffs/Judgment-Creditors, and Plaintiffs herein request the Court to

       compel the transfer of those funds in partial satisfaction of Plaintiffs’

       Judgment.

    16. The petitioners/Judgment Creditors are entitled to said monies being held by

       Attorney Paul Verner in the Escrow Account held by either him individually

       or by his employer Verner Simon.

    17. The Petitioners are unable to levy said monies without an Order from this

       Court due to the fact that the funds sought are in the possession of either his

       individual escrow account or Verner Simon’s Escrow Account.

    18. The Petitioners are entitled to said monies to be paid to them in full or partial

       satisfaction of the unpaid Judgment against the Judgment-Debtors.

    19. No previous application for the relief herein requested has been made.



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       WHEREFORE, your Petitioners respectfully prays for a Judgment and Order

 to be entered directing Respondent Verner, to pay over and deliver to the Petitioners

 any and all funds belonging to the Defendants that are currently being held in any

 Paul Verner and Verner Simon account or any personal account held by Attorney

 Paul W. Verner or business account held by Verner Simon equal to the Judgment

 amount of $1,664,577,36 plus statutory interest in the amount of nine (9) percent per

 annum, from July 13, 2023 on said Judgment, or in such lesser amount as may be

 available, to wit: $686,555.85, and for such other and further relief as to the court

 may seem just and proper.




                                                    //s// Erica Yitzhak
                                                    ERICA YITZHAK



 Affirmed this September 30, 2024
 Great Neck, New York




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